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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ART AKIANE LLC,                            )
                                           )
         Plaintiff,                        )
                                           )     Case No. 19-cv-02952
v.                                         )
                                           )     Judge Edmond E. Chang
ART & SOULWORKS LLC, and                   )
CAROL CORNELIUSON,                         )
                                           )
         Defendants.                       )

             RESPONSE TO PLAINTIFF’S MOTION FOR ENTRY OF A
          TEMPORARY RESTRAINING ORDER, INCLUDING TEMPORARY
             INJUNCTION AND A TEMPORARY ASSET RESTRAINT
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                                        INTRODUCTION

       This case is a quintessential example of what can happen when a mutually rewarding

relationship, governed for more than a decade by a written agreement and the parties’ extensive

course of dealings, is eviscerated in a single instant by the rash and bad faith action of one party -

- in this case, plaintiff Art Akiane, LLC. Art Akiane comes to this Court seeking the

extraordinary and equitable relief of a temporary restraining order (“TRO”), but it does so with

hands that are not just dirty, they are stained by bad faith conduct intentionally designed to inflict

the most damage possible on Defendants Art & SoulWorks, LLC (“ASW”) and its owner,

Carolyn Corneliuson, and to put them both out of business.

       In its moving papers and its Complaint, Art Akiane purposely misleads the Court by

omitting salient facts that not only give context to the parties’ relationship and the actions of

ASW, but also illustrates why plaintiff cannot establish the “likelihood of success on the merits”

necessary for obtaining a TRO. For example, as discussed more fully below, plaintiff neglects to

inform the Court that Defendants’ rights arose, and in some cases continue, under three distinct

circumstances: (a) by virtue of a licensing agreement in place between the parties for 11 years

that governed sales of certain Akiane works (“licensed sales”); (b) from a verbal agreement

between the parties that allowed ASW to market and sell Akiane prints, paintings and other

works that were purchased from Art Akiane at wholesale prices (“wholesale sales”); and (c) by

virtue of the rights that Corneliuson and ASW obtained through the “first sale doctrine,” which

attaches to approximately 10 original or limited edition pieces purchased at full price from Art

Akiane for ASW’s and/or Corneliuson’s private collection.

       Nor does Art Akiane disclose its clear breach of the duty of good faith and fair dealing

implied in every contract, which is what has caused the parties to be before the Court today. For



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example, even though Art Akiane knew full well that it had no intention of renewing the parties’

Licensing Agreement for the fourth time, Art Akiane chose not to alert Corneliuson or ASW of

this fact until a day before the agreement expired; even allowing ASW to make a purchase of

$11,000 worth of merchandise one day before Art Akiane terminated the agreement. (Carolyn

Corneliuson Declaration (“CC Decl.”) at 35). By giving notice of non-renewal on the last day of

the agreement, demanding that ASW remove all references to its decades-long position as the

official and original source of Art Akiane work from all media that same day, and insisting

that all remaining inventory under the Licensing Agreement be liquidated within 6-7 weeks, Art

Akiane acted in bad faith and caused substantial irreparable damage to ASW. It did so by

knowingly eviscerating without notice the source of close to 85% of the Art & Soulworks

business; requiring an immediate liquidation of licensed inventory at fire sale prices; and causing

ASW to cancel orders and trade shows, losing money in the process and eviscerating decades-

long business relationships, including to customers who relied on ASW for Easter and other

merchandise. These losses to ASW reach into the millions and have resulted in the previously

avoidable but now existential crisis ASW finds itself in now. Effectively, Art Akiane has put

ASW out of business by its conduct.

       Finally, notwithstanding the misconduct by plaintiff that gives rise to ASW’s

counterclaims and defenses to this TRO, ASW has not engaged in the conduct alleged in the

Complaint or the motion for TRO. Rather, at plaintiff’s direction, ASW liquidated all of its

licensed sales inventory. It also changed the language on its website to language approved by

plaintiff (to “a trusted source of Art Akiane work” instead of the “official source of”…). AWS

also hid hundreds of pages of its website that previously displayed works covered by the

Licensing Agreement, and placed language on its website informing the public it is no longer the



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licensed seller of Art Akiane work. AWS now only sells the pieces it bought through the

wholesale agreement between the parties for resale, and pieces that are part of its private

collection.

        Art Akiane does not have a likelihood of success on the merits, cannot establish the other

elements needed to obtain a TRO or preliminary injunction, and its motion should be denied in

its entirety.

                                        BACKGROUND

        Art & Soulworks is a business created about 10 years ago by Carolyn Corneliuson to

reflect her devotion to God and to help further her mission to be an example to others.

(Declaration of Carolyn Corneliuson (“CC Decl.”) at ¶4). Prior to starting ASW, Corneliuson

had a successful career as an entrepreneur and for the last 8 years before ASW, was a Director of

Antioch Publishing, dealing with licensing for Disney and interacting with relationship partners

such as Barnes and Noble, Scholastic, Walden Books and Christian Family. (Id.) Through the

www.art-soulworks.com website, trade shows, social media and other avenues, ASW provides a

variety of religious-based gifts and art designed to inspire, educate and promote Bible-based

values to individuals and families globally. (Id. at ¶5). ASW donates 20% of its proceeds to

local, national and global programs dedicated to helping those in need. (Id. at ¶6).

        The 2008-2019 Licensing Agreement: Beginning in 2006, Art & SoulWorks began a

relationship with the Kramarik family, at first creating products such as bookmarks reflecting

Akiane’s art and selling them to retail outlets like Barnes & Noble. (CC Decl. at ¶7). The parties

formalized their relationship in writing in 2008 through the Art Akiane, LLC & Art &

SoulWorks, LLC Art Images & Licensing Agreement (“Licensing Agreement”). (CC Decl. at

¶8). Plaintiff chose not to attach the 1.5 page agreement to either this motion or the Complaint,



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perhaps because doing so would illustrate the obvious – the 11-year relationship between the

parties was governed more by conduct than by expansive contractual provisions. (A copy of the

Licensing Agreement is attached to the CC Decl. as Exhibit (“Ex.”) 1).

       The Licensing Agreement had an initial term of five years, was renewed in 2012 until

2015 via a second round of signatures on the original agreement, and was renewed again in 2016

(via a third set of signatures on the original agreement) until January 11, 2019. (Id. at ¶9). This

demonstrates a pattern of renewal, even after the expiration date of the Licensing Agreement.

Contrary to the allegations in plaintiff’s Memorandum in Support of a TRO (“Memo.”), ASW

was not limited to the manufacture, reproduction, marketing and sales of solely the works listed

on page 6 of plaintiff’s Memo (which are the same works reflected in the first Schedule A

(hereafter “Schedule A1”) to the License Agreement. (Id. at ¶10). Rather, the parties appended a

second Schedule A (hereafter “Schedule A2”) as part of the 2016 Licensing Agreement renewal,

which gave ASW rights in “All images painted, drawn, sketched or otherwise created by Akine

[sic] Kramarik from age 4 to current.” (Id. at ¶11; Ex. 1).

       Per the Licensing Agreement, ASW paid Art Akiane a 10% royalty on the wholesale

price of all items sold under the agreement (the “licensed sales”). (Id. at ¶12). There is no

provision in the contract that addresses the wind-down of the relationship or the parties’

obligations in the event the contract is not renewed after expiration. (Id. at ¶13).

       The Wholesale Sales: In addition to the licensing rights described above, beginning in

2008, ASW and Art Akiane also had an oral agreement allowing ASW to sell and market

additional works and products. (Id. at ¶14). This agreement arose out of a request from Art

Akiane that ASW essentially mimic the Akiane Gallery website to enhance the exposure and

selling opportunities of Akiane’s prints and paintings. (Id. at ¶15). At ASW’s own expense, it



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greatly expanded its website to include paintings, prints and canvasses of Art Akiane, with the

assistance of Art Akiane to ensure accurate descriptions and appropriate photos of all of these

works. (Id. at ¶16). As part of this ongoing agreement, ASW could display on its website and

elsewhere works sold by Akiane Gallery. (Id. at ¶17). ASW either purchase these works at

wholesale prices and kept them in inventory for customers, or, if a customer expressed interest in

a piece that ASW was allowed to market but had not yet purchased, ASW would then purchase

the piece from Akiane Gallery at the wholesale price (50% discount off of retail prices), and

resell the piece to the customer with Art Akiane’s blessing. (These sales are referred to as

“wholesale sales”). (Id. at ¶18). One example of the latter is reflected in the 7/1/2010 email

between ASW and Art Akiane along with an ASW Purchase Order and request that Art Akiane

ship to ASW’s customer. (Id. at ¶18; 7/1/2010 email and Purchase Order are attached as Ex. 2).

        ASW publicized these pieces on its website, Twitter, Instagram, youtube, in marketing

materials and at trade shows, with full knowledge and assistance by Art Akiane. (Id. at ¶20). Not

only were these wholesale sales requested and endorsed by Art Akiane, but they were totally

facilitated with its approval, as ASW had to obtain the pieces to resell from Art Akiane itself.

(Id. at ¶21). In fact, Art Akiane often drop-shipped items that were not yet in ASW’s inventory

to customers that came through ASW’s social media sites or website to purchase. (Id. at ¶22; Ex.

2). A spreadsheet reflecting the more than 50,000 “wholesale sales” that ASW made with Art

Akiane’s knowledge, blessing and pursuant to the oral agreement, is attached to the CC Decl. as

Ex. 3. 1 (Id. at ¶23).




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        Even after the termination by Art Akiane, ASW and Corneliuson forwarded interested customers
to Art Akiane. (CC Decl. at 24). In fact, the email exchange attached as Ex. 4 to the Corneliuson
Declaration shows that Defendants sent Art Akiane a customer who made three expensive purchases –
purchases for which promised commissions have still not been paid to ASW.

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        The Private Collection: In addition to the licensed and wholesale sales described above,

at various points in time, ASW or Corneliuson purchased original or limited edition pieces from

the Art Akiane Gallery at full price for Corneliuson’s private collection (“private collection”

pieces). (Id. at ¶25). It is estimated that 10 pieces of art are currently owned in this collection.

(Id. at ¶26). These prices currently have a retail value of approximately $600,000 or more. (Id. at

¶27).

        ASW’s and Corneliuson’s Reliance on the Parties’ Course of Dealings and Duty of

Good Faith: ASW and Corneliuson relied on the parties’ course of dealings over the span of

their more than 11-year relationship in conducting its business. (Id. at ¶28) For example, since

the contractual relationship began, ASW and Corneliuson expended hundreds of thousands of

dollars on inventory, paying for and attending trade shows, building out and maintaining its

website, paying staff, drafting content and continuously trying to promote Akiane, her works and

Art Akiane and Akiane Gallery. (Id. at ¶29). These expenditures continued in the months leading

up to the non-renewal. (Id. at ¶30). In making them, Corneliuson trusted that, as they had many

times before, the parties would renew the Licensing Agreement, and the verbal wholesale

agreement allowing her purchase, display and resell other Akiane works, would continue to be in

effect. (Id. at ¶31). While Corneliuson recognized that the parties’ relationship might not

continue forever, she reasonably expected that any cessation of the relationship would occur only

with sufficient advanced notice to ensure that her entire business did not fail in the process. (Id.

at ¶32.)

        So unaware that there was any intention of non-renewal, ASW committed to trade shows,

advertising, marketing brochures and collateral, new product orders well into 2019, for which it

had already expended substantial amounts of money. (Id. at ¶33). Also, as it had for the previous



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years of their relationship, ASW created the 2019 “Prince of Peace” calendar, and committed to

the 2020 calendar, as well as many other items intended for sale in 2019 and beyond. (Id. at ¶34).

ASW also placed an order of $11,000 worth of wholesale sales merchandise on January 10 – one

day before Art Akiane summarily terminated the relationship. (Id. at ¶35). Art Akiane did

nothing to dissuade ASW of this purchase. (Id. at ¶36).

       In the months leading up to the termination, Art Akiane continued to send videos and

links to ASW of new Akiane works to ensure that the ASW website posted them simultaneously

with the Akiane Gallery to multiply the exposure. (Id. at ¶37). An email written by Jeanlu

Kramarik attached as Ex. 5 to the Corneliuson Declaration illustrates that Art Akiane not only

gave permission for ASW to market and post its works, including new ones, but that it created

videos to be posted to the ASW website so that sales of these works could be made. (Id. at ¶38).

In fact, the posting of the video on ASW’s site at Art Akiane’s direction resulted in an $85,000

sale of a recent Akiane painting, “The Light.” (Id. at ¶39).

       Art Akiane’s Termination of the Licensing Agreement: When Art Akiane did give

notice of the termination and non-renewal of the Licensing Agreement, it did so with a glowing 8

page letter to ASW which had a “Licensing Dissolvement Agreement” signed by Art Akiane and

Akiane Art Gallery at the end. (Id. at ¶40). (A copy of the termination letter is attached to CC

Decl. as Ex. 6). The letter contained phrases like, “The relationship between you and our family

has been meaningful, fruitful and positive,” and “The decade-long relationship between Art

Akiane LLC, Akiane Art Gallery LLC and Art-SoulWorks continued to be mutually beneficial

and progressive.” (Id. at ¶41).

       The Dissolvement Agreement, dated January 10, 2019, stated that as of January 11, 2019,

ASW had to remove all “official” titles, change Facebook page names, remove all “official



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source” titles from all Google web search pages, and remove all references to being an

“authorized” seller or distributor of Akiane’s work, forego any “future posts” on all social medial

platforms, Google searches, websites that have anything to do with Akiane’s “name,” “brand” or

“artwork,” etc. (Id. at ¶42). Furthermore, effect January 11, 2019, Art Akiane stated that ASW

could “no longer sell, license or distribute Akiane’s artwork,” and “all merchandise” associated

with Akiane’s art had to be “discontinued.” (Id. at ¶43). Finally, Art Akiane dictated that ASW

had only until March 1, 2019 to “liquidate” all inventory, but noted that the full royalty fee

would still be in effect. (Id. at ¶44).

        Of course, this “Dissolvement Agreement” was not agreed to by ASW, nor was it

consistent with the parties’ prior course of dealings which ASW and Corneliuson relied upon

based on the previous “business as usual” conduct between the parties. (Id. at ¶45). As of 2018,

the Akiane works and products made up approximately 85% of ASW’s business. (Id. at ¶46).

The “Dissolvement Agreement” gave literally no notice to ASW before the “discontinuation of

everything” mandate supposedly kicked in, effective January 11. (Id. at ¶47). The Dissolvement

Agreement also attempted to improperly dictate ASW’s conduct with respect to any works it had

already purchased under the wholesale agreement, as well as the works that were part of its own

private collection. (Id. at ¶48).

        ASW’s and Corneliuson’s Compliance with Art Akiane’s Bad Faith Demands: ASW

and Corneliuson attempted in good faith to work with Art Akiane to extend the date of

liquidation listed in the termination letter. (Id. at ¶49). The parties went back and forth so many

times with respect to this issue that ASW packed and unpacked their merchandise again and

again each time it seemed that there would be a reprieve. (Id. at ¶50). Ultimately, there was not,

and ASW was forced to sell the remainder of its merchandise covered by the Licensing



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Agreement at fire-sale prices. (Id. at ¶51). It did so prior to the artificially imposed March 1

deadline. (Id. at ¶52). In doing so, ASW lost hundreds of thousands of dollars that it would have

obtained had it had a reasonable period of time in which to make the sales. (Id. at ¶53).

       Prior to and following the termination, Art Akiane was well aware of the fact that ASW

and Corneliuson resold works they had purchased through the wholesale agreement or from the

private collection. (Id. at ¶54). In fact, in an email dated March 29, 2019, Foreli Kramarik,

Akiane’s mother and the “Original Art Acquisition Director” of the Akiane Gallery gave

Corneliuson advice on the suggested resale prices, depending on whether Corneliuson wanted to

sell the pieces quickly or more patiently. (Id. at ¶55; A copy of the Foreli Kramarik email is Ex.

7). Any suggestion that Art Akiane did not have notice of what ASW was doing is disproven by

these communications.

       In addition to liquidating its inventory covered by the Licensing Agreement as directed

by Art Akiane, ASW also made the voluminous and time consuming changes to its website and

other social media outlets as demanded by the termination letter. (Id. at ¶56). In addition to

hiding hundreds of pages, with the Kramarik’s blessing, ASW changed the many previous

references from “ official source…” to “trusted source of Akiane art.” (Id. at ¶57).

       ASW went one step further. In the “About” section of its website, it states the following:

       We were pleased to be the exclusive global licensors and distributors
       of “Prince of Peace” and all art by Akiane Kramarik from 2006
       through March 1, 2019. Considered one of the top 20 living artists,
       Akiane painted her first masterpiece “Prince of Peace,” her portrait of
       Jesus, at age 8. Akiane, now 25 has informed us that she has chosen to
       be completely independent. We wish her well and hope that her
       visions of God, Jesus, and heaven continue to bless her and her
       artwork.
https://art-soulworks.com/pages/about-us. (Id. at ¶58)



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       Making these changes caused significant problems for ASW, as it resulted in the ASW

website having hundreds of broken links and errors, as reflected in the SEMrush site audit report,

attached to the Corneliuson Declaration as Ex. 8. (Id. at ¶59). Trying to fix these issues has cost

ASW time and money. (Id. at ¶60). ASW continues to market for sale the works it purchased

pursuant to the verbal wholesale agreement and works Corneliuson owns as part of the private

collection. (Id. at ¶61). It has done so on the ASW website, Facebook page and through other

social media avenues. (Id. at ¶62). ASW owns the domain name “Jesusprinceofpeace.com,”

which points to the ASW website. (Id. at ¶63). ASW has every right to this name, as Art Akiane

did not coin this phrase – it is prominently contained in the Bible, and universally used to refer to

Jesus Christ. Similarly, ASW has every right to show pictures of the works that it owns and is

selling. Hundreds of people and other entities selling Akiane work they own are doing the same

on sites like, Etsy, Ebay, Pinterest, in Facebook groups or on their own websites. (Id. at ¶64;

Examples of these sites are attached to the Corneliuson Declaration as Ex. 9.)

       The Kramariks and Art Akiane knew that the Akiane merchandise made up the vast

majority of Art & SoulWork’s business. It knew or should have known that terminating the

parties’ relationship on a moment’s notice, replete with extensive demands to immediately

remove all references to the parties’ more than 10-year relationship would be debilitating if not

the death knell of the ASW business. Nevertheless, it insisted on this path and now opens its

unclean hands to this Court in prayer for substantial equity despite failing to bestow any on

ASW.




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                                              ARGUMENT2

I.      Art Akiane Has Not Made the Required “Threshold Showing” That It Is Entitled to
        a Temporary Restraining Order

        A temporary restraining order is an “extraordinary equitable remedy” that is only warranted

when the movant shows “clear need.” Traffic Tech., Inc. v. Kreiter, No. 14-cv-7528, 2015 WL

9259544, at *16 (N.D. Ill. Dec. 18, 2015). To obtain such relief, the party seeking a temporary

restraining order must make a threshold showing that: (1) absent injunctive relief, it will suffer

irreparable harm in the interim prior to a final resolution; (2) there is no adequate remedy at law;

and (3) it has a reasonable likelihood of success on the merits. Id. Art Akiane’s Motion for TRO

should be denied because it has not, and cannot, meet this initial burden.

        A.       Art Akiane Has Not Established That It Will Suffer Imminent and
                 Irreparable Harm in the Absence of a Temporary Restraining Order

        First, Art Akiane has not and cannot identify a single action taken by Defendants that

constitutes an emergency now. Plaintiff’s Memo states that the actions at issue have been

occurring since the termination of the Licensing Agreement on January 11, 2019, yet Art Akiane

waited until mid-May to file its motion. (Memo. at 1).

        Second, as discuss above and further below, all display, marketing and sales of Akiane art

by ASW following the artificially imposed March 1, 2019 “liquidation” deadline has been in

connection with the “right of first sale” doctrine for inventory purchased as part of the parties’




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         Plaintiff’s complaint asserts federal question and supplemental state jurisdiction. On its face,
there is also diversity jurisdiction of the parties. (Complaint, Dkt. 1, ¶¶ 5-8). Generally, a district court
sitting in diversity applies the choice of law rules of the state in which it sits. Jackson v. Payday Fin.,
LLC, 764 F.3d 765, 774 (7th Cir. 2014).


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“wholesale sales” agreement, or purchased as part of Corneliuson’s private collection. Thus, no

infringement has occurred.3

         Further, even if infringement could be established, and it cannot, Art Akiane has only

pointed to alleged acts of infringement, pled and declared largely on “upon information and belief”

and concluded that because there is alleged infringement, this Court must presume irreparable

harm and enter a TRO. However, the presumptive standard Art Akiane cites no longer applies

and it has failed to provide any threat of imminent harm in the absence of a temporary restraining

order.

         The standard for many years in the Seventh Circuit was that when a plaintiff’s copyright

or trademark is being infringed, the Plaintiff will suffer irreparable harm and have no adequate

remedy at law without an injunction. See, e.g., Eli Lilly & Co. v. Nat. Answers, Inc., 233 F.3d 456,

469 (7th Cir. 2000). That presumption is no longer favored following the United States Supreme

Court opinion in eBay Inc. v. MercExchange, LLC, 547 U.S. 388 (2006), which declined to replace

traditional equitable considerations with a rule that an injunction automatically follows a finding

of infringement. The eBay case has created an ever widening standard across numerous circuits

that in patent, trademark and copyright cases, merely pointing to an infringement and citing the

presumption as a basis for irreparable harm is not enough.

         In the Seventh Circuit, eBay now applies to copyright infringement cases. See Flava

Works, Inc. v. Gunter, 689 F.3d 754, 755 (7th Cir. 2012) (noting that eBay is applicable in

copyright cases). Though the Seventh Circuit has not expressly found an extension of eBay to



3
         The voluminous exhibits cited by Mark Kramarik in his Declaration and attached to the
Complaint as evidence of infringement reflect posts made prior to the termination of the agreement while
the parties’ Licensing and wholesale sales agreements were in effect. These uses by Defendants were both
endorsed by Art Akiane, and often facilitated by them. (Corneliuson Decl. at ¶¶15, 20-23). Any posts
made by Defendants since then relate to the lawful sales of under the right of first sale.

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trademark cases yet, many other Circuits have, and many district courts in the Seventh Circuit have

assumed that the Seventh Circuit would join its sister circuits in doing so. See Nat’l Fin. Partners

Corp. v. Paycom Software, Inc., 2015 WL 3633987, at *11 (N.D. Ill. June 10, 2015). Mkt. Track,

LLC v. Efficient Collaborative Retail Mktg., LLC, 2015 WL 3637740, at *23 (N.D. Ill. June 12,

2015); see also Swarovski Aktiengesellschaft v. Bldg. No. 19, Inc., 704 F.3d 44, 54 (1st Cir. 2013);

Ferrlng Pharm., Inc. v. Watson Pharm., Inc., 765 F.3d 205, 216 (3d Cir. 2014); Audi AG v.

D’Amato, 469 F.3d 534, 550 (6th Cir. 2006); Herb Reed Enters., LLC v. Fla. Entm’t Mgmt., Inc.,

736 F.3d 1239, 1248-49 (9th Cir. 2013).

        Assuming that there is no presumption of irreparable harm and a specific showing of

irreparable harm and no adequate remedy at law is required, Art Akiane has not sufficiently

provided a basis to justify such a finding. In fact, the claims at issue in the TRO Motion are the

supposed continued sale of Art Akiane copyrighted and trademarked material and the alleged

failure by Defendants to provide Art Akiane with buyer contact information.4 Both of these are

clearly remediable with money damages and neither require emergency action.

        B.      Art Akiane Has Not Established That It Is Likely to Succeed on the Merits of
                Its Claims Against Defendants

             1. Defendants Have Not Committed Any Copyright Violations

        Defendants entered into a 1.5 page Licensing Agreement with Art Akiane, three separate

times, for a period of 11 years. This Licensing Agreement expressly granted ASW the right to use

the art in “promotional advertisements and materials, and for all promotional purposes in

connection with [ASW’s] website and Internet related business without cost or royalty. (CC Decl,



4
 Exhibits 2 and 4 to the Corneliuson Declaration prove that these allegations are wholly without merit,
and these are merely representative exhibits of the many instances in which Art Akiane had unfettered
access to and knowledge of the ASW customers buying Akiane art.


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Ex. 1 ¶ D). At Art Akiane’s request, in order to maximize the art’s exposure and sales, the parties

also entered into a verbal agreement for paintings, prints and canvasses and engaged in a

continuous course of dealings where ASW would coordinate with Art Akiane or the Akiane

Gallery to display Akiane’s works that it would then purchase at wholesale and resell. Defendants

also had a private collection of works, purchased at full price. Following notice of termination by

Art Akiane, Defendants liquidated the inventory of product governed by the Licensing Agreement.

They too extensive efforts to modify the websites and social media sites to indicate they were no

longer the “official distributor” of Akiane products, noting the same in its “About” section and

changing the wording on its sites to Kramarik-approved, “trusted source” of Akiane art. The

display of art on ASW’s website or social media outlets that remains falls under the “First Sale

Doctrine.” Furthermore, Art Akiane has already been compensated in full for the pieces at issue.

       It is not clear from Plaintiff’s complaint or motion the exact infringing actions supposedly

undertaken by Defendants. It appears that Plaintiff believes that Defendants are making exact

copies, i.e., generating its own prints, of the copyrighted works which were previously licensed to

Defendants, and reselling those copies. However, that is not the case. ASW liquidated at a large

financial loss all of the items that it had produced under the Licensing Agreement. (CC Decl. at ¶

53). There is no manufacturing, printing or copying of any materials that are no longer licensed.

       Fundamentally, the Copyright Act of 1976 (“Copyright Act”), 17 U.S.C. § 101, grants

copyright owners exclusive rights to reproduce the copyrighted work, prepare derivative works

based upon the copyrighted work, distribute copies of the copyrighted work, and to display the

copyrighted work, but these rights are not absolute. However, a copyright holder’s distribution

right is not absolute. The first sale doctrine, codified at 17 U.S.C. § 109, allows an individual who

legally acquired a lawfully-made copy of a copyrighted work to sell or otherwise transfer that



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particular copy as he or she wishes. Lee v. Deck the Walls, Inc., 925 F. Supp. 576, 578 (N.D. Ill.

1996). The First Sale Doctrine “provides, in essence, that once the copyright owner has transferred

ownership of a particular copy of the work, the person to whom the copy has been transferred is

entitled to dispose of it by sale, rental, or any other means.” Id. at 583, citing to Parfums Givenchy

v. C & C Beauty Sales, 832 F. Supp. 1378, 1385 (C.D. Cal. 1993) (citing H.R. Rep. No. 1476, 94th

Cong., 2d Sess. 79 (1976)).

       Although the first-sale doctrine does not “entitle the owner of a particular copy of a

copyrighted item to publicly display copyrighted images to the world via the Internet,” Bryant v.

Gordon, 483 F. Supp. 2d 605, 613 (N.D. Ill. 2007), it does entitle the owner to “sell or otherwise

dispose of” the copy. 17 U.S.C. § 109(a). Online display of lawfully acquired prints to promote

their sale would be a fair use. Id. at § 107. Boehm v. Svehla, No. 15-cv-379-jhp, 2017 WL 4326308

at *17 (Sept. 27, 2017 W.D. Wis.)

       To the extent Plaintiff is claiming that the posting of images on various websites and social

media pages violates their copyrights, they have failed to properly plead any such violation and

regardless, given the factual circumstances, this is not actionable. While there may be images of

paintings Defendants on display and the “copyright notice” for such pieces is not visible because

of the way the art is displayed, this is remedied because in no instances does ASW hide the fact

that these are works created by Akiane. In fact, the majority of plaintiff’s motion complains of the

fact that Defendants are using her name (which, ironically she contends is also her Marks”).

       Furthermore, it is entirely disingenuous, bordering on frivolous, that Mark Kramarik

attested in his Declaration that “upon information and belief, Defendants have been copying,

displaying, distributing and selling Art Akiane’s other works, despite never having been granted

licensing rights to do so under the Agreement.” (Mark Kramarik Decl. at 23). The evidence



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attached to Corneliuson’s Declaration indicates that not only did Art Akiane know about the sales

of these works, they facilitated them and were happy to reap the benefits of them.

           2. Art Akiane Does Not Have Trademark Claims

       Plaintiff has alleged trademark violations pursuant to Section 43(a) of the Lanham Act due

to Defendants’ supposed use of “marks” that are “owned” by Plaintiff. First, Plaintiff has once

again failed to properly plead what supposed “mark” Defendants are infringing. It references

Exhibit B to the Complaint, and the words Art Akiane, but doesn’t make clear if the mark is the

stylized version of Art Akiane, Art Akiane itself, or some other “mark” that is somehow being

used. What is clear is that Plaintiff has no trademark registrations. Instead, she relies on common

law rights but fails to adequately explain the violation.

       Second, the United States Supreme Court in Dastar Corp. v. Twentieth Century Fox Film

Corp., 539 US 23 (2003) made clear that a Plaintiff cannot use the Lanham Act to create a limitless

protection for what is otherwise a limited copyright protection. Id. at 32-38. Art Akiane is alleging

that Defendants misrepresented the “origin” of the goods it sold and because Art Akiane is the true

“origin” of the marks, there is confusion to the public. However, the Dastar Court held:

       [R]eading the phrase ‘origin of goods’ in the Lanham Act in accordance with the
       Act’s common-law foundations (which were not designed to protect originality
       or creativity), and in light of the copyright and patent laws (which were ), we
       conclude that the phrase refers to the producer of the tangible goods that are
       offered for sale, and not to the author of any idea, concept, or communication
       embodied in those goods. Cf. 17 U.S.C. § 202 (distinguishing between a
       copyrighted work and “any material object in which the work is embodied”). To
       hold otherwise would be akin to finding that § 43(a) created a species of
       perpetual patent and copyright, which Congress may not do. See Eldred v.
       Ashcroft, 537 U.S. 186, 208, 123 S.Ct. 769, 154 L.Ed.2d 683 (2003).”

Id. at 37. See also Personal Keepsakes, Inc. v. PersonalizationMall.Com, Inc., 975

F.Supp.2d 920 (N.D. Ill. 2013).




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        Further, if what Plaintiff is claiming is a “false or misleading representation of fact” they

have no likelihood of success on the merits because the website and social media sites in question

go out of their way to indicate that the work belongs to Art Akiane, even mentioning the Akiane

Gallery in various instances. Defendants went to great lengths, including working with plaintiff,

to change the many pages of display related to Akiane works and to alert the public that it was no

longer the “official distributor” of Akiane art.5 Plaintiff’s claims are copyright violation claims,

not trademark violations, but even if they are trademark claims, they fail.

            3. Defendants Have Not Violated the Digital Millennium Copyright Act

        The Digital Millennium Copyright Act (DMCA) provides copyright owners protections in

the digital age by forbidding the distribution of false copyright management information (“CMI”)

or its outright removal. See 17 U.S.C. § 1202. CMI “is defined as the information about the

copyright that is ‘conveyed in connection with copies’ of the work, including the title of the work,

the author of the work, the name of the copyright owner, and identifying numbers or symbols

referring to copyright information.” Personal Keepsakes, Inc. v. PersonalizationMall.Com, Inc.,

975 F.Supp.2d 920, 928 (N.D. Ill. 2013). However, simply not properly “linking up” the image

with the proper CMI is not actionable. Id. at 929. See also Kelly v. Arriba Soft. Corp., 77 F.Supp.2d

1116, 1122 (C.D.Cal. 1999) (CMI appeared in the surrounding text but not the images. The DMCA

removal provision only applies to the removal of CMI on the original product, not simply printed

somewhere on the website.) In addition, the DMCA requires intent on the part of Defendants.

Plaintiff has not established the requisite intent by Defendants to mislead, and therefore does not




5
 Even plaintiff’s website utilizes the “images” of people in connection with a description of Akiane and
her work. For example, the website prominently displays a picture of Oprah Winfrey.
https://akiane.com/

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have a likelihood of success on the merits of this claim. Monotype Imaging, Inc. v. Bitstream, Inc.,

376 F.Supp.2d 877, 892 (N.D. Ill 2005).

       As with copyright and trademark, Plaintiff has failed to provide the requisite information

necessary to determine what supposed CMI was removed or falsely distributed. However,

assuming Plaintiff is referencing removal of CMI on various online images, Defendants have not

violated the DMCA. In every location that Defendants have posted Plaintiff’s copyrighted images,

regardless of the lack of any signature or © on the image, Defendants include attribution to Akiane

or Akiane Gallery that reference the required CMI of title of the work, the author of the work, and

the name of the copyright owner.

             4. Art Akiane’s State Law Claims Are Preempted

       Finally, all of plaintiff’s state law causes of action are preempted by the copyright claims.

“To ‘avoid preemption, [the] law must regulate conduct that is quantitatively distinguishable from

that governed by federal copyright law – i.e., conduct other than reproduction, adaption,

publication, performance and display.’” Personal Keepsakes, Inc. v. Personalizationmall.com,

Inc., No. 11 C 5177, 2012 WL 414803 at & 8 (Feb. 8, 2012 N.D. Ill.), citing Toney v. L’Oreal

USA, Inc., 406 F.3d 905, 910 (7th Cir. 2005).

       A state law claim is preempted by the Copyright Act where: (1) the work is within the

subject matter of copyright; and (2) the rights available under state law are equivalent to any of

the exclusive rights provided by § 106 the Copyright Act.” Id. citing to See ProCD, Inc. v.

Zeidenberg, 86 F.3d 1447, 1453 (7th Cir. 1996) (citing 17 U.S.C. § 301(a)); see also Baltimore

Orioles, Inc. v. Major League Baseball Players Ass’n, 805 F.2d 663, 674 (7th Cir. 1986). A right

can be “equivalent” even if it requires additional elements to make out a cause of action, if those

additional elements do not differ in kind from those necessary to avoid copyright infringement. Id.

at 676-78.
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       As many courts in the Norther District have noted, every copyright claim inherently

involves the notions of unfair competition and consumer confusion and deception, because it is

fundamentally not fair competition and confusing to customers to rip off another’s protected work.

Id. See Cyber Websmith, 2010 WL 3075726 at *3 (collecting cases finding that consumer

confusion issues are present in all copyright cases and such elements “are not considered extra

elements that qualitatively alter the nature of a claim where they are asserted”); Natkin v. Winfrey,

111 F. Supp. 2d 1003, 1013 (N.D. Ill. 2000) (dismissing state law claims and noting that the

plaintiff did nothing more than re-allege the same facts as the copyright claim and state those

actions also violated the Illinois unfair competition and consumer fraud statutes).

       In short, Plaintiff’s state law claims are simply copyright claims in different clothing, and

they are preempted by the Copyright Act.

       C.      Plaintiff has Unclean Hands

       Plaintiff’s motion should also be denied because it seeks an equitable remedy despite

having unclean hands. The unclean hands doctrine “closes the door of a court of equity to one

tainted with inequitableness or bad faith relative to the matter in which he seeks relief . . . ." ABF

Freight Sys., Inc. v. NLRB, 510 U.S. 317, 329-330 (1994) (internal quotations omitted); Zahl v.

Krupa, 850 N.E.2d 304, 309-10 (Ill. App. Ct. 2006) (unclean hands doctrine bars equitable

remedies). Here, Art Akiane asks for equity even though it acted improperly by violating the duty

of good faith and fair dealing in terminating the parties’ relationship with no notice even though it

knew that doing so would debilitate, if not destroy, the ASW business. It chose this path even

though it was well aware that ASW was acting in reliance of the parties’ previous course of

dealings in renewing the agreements, and despite knowing that ASW had an enormous amount of

inventory and had made commitments well into 2019 for the continued business.



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       There is no dispute that, under Illinois law, every contract contains an implied promise of

good faith and fair dealing unless it expressly provides otherwise. Cromeens, Holloman, Sibert,

Inc. v. AB Volvo, 349 F.3d 376, 395 (7th Cir. 2003). The Licensing Agreement is no exception. In

addition, with respect to the verbal wholesale agreement, the parties had an established course of

dealings with respect to this relationship, and that course of dealings included the ability to

continue to purchase Art Akiane work for resale. A course of dealings is a sequence of previous

conduct between the parties which can be fairly regarded as establishing a common basis of

understanding for interpreting their expressions and other conduct. Under Illinois law, courts may

consider the course of dealings between the parties when determining the terms of an oral contract.

H & H Press, Inc. v. Axelrod, 638 N.E.2d 333, 338–39 (Ill.App.Ct. 1st Dist.1994); see also Capitol

Converting Equipment, Inc. v. LEP Transport, Inc., 965 F.2d 391, 396 (7th Cir.1992) (course of

dealing established that liability limitation contained on transportation company's invoice was part

of agreement). Plaintiff should not be rewarded for its role in the situation the parties now face,

and should the matter proceed to full-blown litigation, Defendants’ counterclaims against Art

Akiane will eliminate any likelihood of success on the merits of plaintiff’s own claims.

       D.      Defendants Will Be Significantly Harmed If They Are Enjoined from Selling

       Art Akiane has dealt an effective death blow to ASW’s business, and that business now

faces an existential crisis. Defendants have already liquidated inventory connected to the Licensing

Agreement at a significant loss. Their personal art is worth more than $600,000.00 and they

continue to hold inventory under the wholesale agreement that at retail would constitute hundreds

of thousands of additional dollars. The balance of the equities here significantly outweighs the

granting of plaintiff’s motion, as Defendants, a small business currently hanging by a thread due

to plaintiff’s conduct has far more to lose than Art Akiane does if an injunction is issued.



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       E.      Any Injunction Requires a Significant Bond

       It is well established in the Seventh Circuit that the damages payable to a person injured

by an erroneously issued injunction cannot exceed the amount of the bond. Roche Diognostics

Corp. v. Medical Automation Systems, Inc., 646 F.3d 424, 428 (7th Cir. 2011) citing to W.R. Grace

& Co. v. Rubber Workers, 461 U.S. 757, 770 n. 14, (1983). See also; Coyne–Delany Co. v. Capital

Development Board, 717 F.2d 385, 393–94 (7th Cir.1983). “Judges therefore should take care that

the bond is set high enough to cover the losses that their handiwork could cause. A limit of zero—

the upshot of an injunction without a bond—is bound to be too low.” Id.

       Here, the plaintiff asks that this Court set a bond of $10,000 should it be successful on its

motion. That amount is far too low and would be exceeded by the price of even a single piece of

art owned by the Defendants. Here, the value of the art still lawfully held and that can be sold by

Defendants exceeds $1 million. Accordingly, any bond should be set in that amount.



                                                     Respectfully submitted,

 Dated: May 23, 2019                                 /s/ Nicole N. Auerbach

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                               CERTIFICATE OF SERVICE

       I certify that on May 22, 2019, I caused a copy of the attached Response to be served upon

all counsel of record via the Court’s ECF system.



                                                    /s/ Nicole N. Auerbach
                                                    Nicole N. Auerbach




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